UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                          1/11/2024
UNITED STATES OF AMERICA,
                                                23 CR 289 (VM)

                                                ORDER
                - against -

NIKHIL GUPTA, a/k/a “Nick,”

                      Defendant.


VICTOR MARRERO, United States District Judge.

     On January 4, 2024, Defendant Nikhil Gupta (“Gupta”)

filed a Motion to Compel Production of Discovery during the

pendency   of   his   extradition   proceedings     in   the     Czech

Republic. (Dkt. No. 11 (the “Motion”).) The Government filed

a letter response opposing the Motion on January 10, 2024.

(Dkt. No. 13 (“Opposition”).)

     The Court is persuaded by the Government’s argument that

Gupta has no right to Rule 16 discovery at this time. Federal

Rule of Criminal Procedure 16.1 (“Rule 16.1”) provides that

"[n]o later than 14 days after the arraignment, the attorney

for the government and the defendant’s attorney must confer

and try to agree on a timetable and procedures for pretrial

disclosure under Rule 16.” Rule 16.1 thus contemplates that

discovery need not be produced to defendants until after they

have been arraigned, and Gupta has failed to identify any
authority suggesting that a defendant has a right to Rule 16

discovery before arraignment.

     Gupta has not yet been arraigned in this case, and the

Government is currently seeking Gupta’s extradition from the

Czech Republic to the United States. Moreover, the Government

assures the Court that it is “prepared to produce discovery

promptly upon the defendant’s appearance in this District and

arraignment on this case.” (Opposition at 1.)

     Accordingly, Gupta’s Motion is DENIED.



SO ORDERED.

Dated:    11 January 2024
          New York, New York

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                                         Victor Marrero
                                            U.S.D.J.




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